






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00446-CR






The State of Texas, Appellant



v.



Angie Godinez, Appellee







FROM THE COUNTY COURT AT LAW NO. 7 OF TRAVIS COUNTY


NO. 627-413, HONORABLE ELISABETH A. EARLE, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



The State's motion to dismiss this appeal is granted.  See Tex. R. App. P. 42.2(a). 
The appeal is dismissed.



				__________________________________________

				David Puryear, Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear

Dismissed on Appellant's Motion

Filed:   August 29, 2003

Do Not Publish


